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                                                         January 17, 2025

  Hon. Robert Kirsch
  U.S. District Court for the District of New Jersey
  402 E. State St.
  Trenton, NJ 08608

          Re:    Stier v. Possebon, et al., No. 24-cv-04647-GC-RLS

  Dear Judge Kirsch:

  I represent Treviso Corretora de Cambio, S.A., a defendant in this action. My client plans to
  bring a motion to dismiss for lack of personal jurisdiction, for failure to plead fraud with
  particularity, and for failure to state a claim. I write to request a pre-motion conference, as
  required by your individual rules and procedures.

  The complaint’s main allegation is that a Brazilian businessman, Diego Possebon, sold MLS
  Berkowitz LLC more than a hundred containers that were supposed to contain tin concentrate but
  in fact contained “worthless gravel dust.” MLS Berkowitz paid “nearly $50 million” for the
  worthless gravel and sought bankruptcy protection. Possebon’s acts were not just a breach of a
  sales contract but a fraud, MLS claims, because Possebon “and his co-conspirators” had sold a
  much smaller batch of tin concentrate to MLS Berkowitz the year before and thus induced MLS
  Berkowitz to regard him as a legitimate source of tin, and because Possebon “and his co-
  conspirators” induced MLS to pay for the goods by issuing false commercial documents attesting
  to the quality of the goods.

  Treviso is mentioned only a few times in the lengthy complaint and is named in only one of the
  complaint’s seventeen counts: count 2, for aiding and abetting fraud. The complaint alleges that
  Treviso is a business entity with its principal place of business in São Paulo. (¶ 101). It alleges
  that Treviso, along with twenty-four other defendants, “engaged in acts or omissions that aided,
  abetted, or otherwise furthered the fraudulent scheme.” (¶ 390). And it alleges that Treviso, along
  with six other defendants, “substantially aided the scheme by holding, concealing, and
  facilitating the transfer of the illicit proceeds.” (¶ 391k). That is all the complaint has to say
  about Treviso. The complaint does also allege generally that all of the two dozen defendants
  accused, with Treviso, of aiding and abetting the alleged fraud, “had knowledge of the fraud by
  virtue of, among other things, their long-standing business and personal relationships with
  Possebon, their direct participation in the fraud, and glaringly obvious indicia of illicit conduct,
  including, but not limited to, the creation of false documents, affirmative acts of concealment,

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  inexplicable departures from industry norms and standards, and the criminal and/or troubled
  histories of their co-conspirators.” (¶ 392).

  Personal jurisdiction. Treviso is a Brazilian currency exchange firm. It has no presence or
  offices in the United States. No one can doubt that Treviso is not subject to the Court’s general
  personal jurisdiction. See Fischer v. Fed. Express Corp., 42 F.4th 366, 383 (3d Cir. 2022) (“For a
  corporation, general jurisdiction is only proper in states where the corporation is fairly regarded
  as ‘at home,’ which generally is restricted to the corporation’s state of incorporation or the state
  of its principal place of business”). Nor can Stier show specific jurisdiction. Treviso will prove
  through the declaration of Mauro André Neto, one of its executives, that it had no dealings
  relevant to this action with any person in the United States and did not reach out to the United
  States or purposefully avail itself of the privilege of doing business here. Treviso’s only role was
  to provide currency exchange services for Dakar and TW, two Brazilian defendants alleged to be
  the exporters for the allegedly fraudulent transaction, and the recipients of payments from
  Berkowitz. Dakar and TW did not have a direct relationship with Treviso. Instead, they were
  clients or customers of HRL Serviços, another Brazilian currency exchange firm, not under
  common ownership or control with Treviso. HRL is a correspondent institution of Treviso, and
  their relationship is regulated under Resolution 4935/2021 of the Brazilian Central Bank. HRL
  would have instructed Dakar and TW, in Brazil, to instruct Berkowitz, in the US, to identify the
  beneficiary for the wired funds as “Dakar CCME Treviso” or “TW CCME Treviso,” or words to
  similar effect; “CCME” stands for “exchange currency bank account” in Portuguese. Dakar and
  TW would also have instructed Berkowitz to identify Banco Rendimento (“Rendimento”), a
  Brazilian bank, as the bank to receive the wired funds. Rendimento is Treviso’s correspondent
  bank. After Rendimento received the funds in dollars, Treviso advised Dakar and TW that the
  funds had been received and were available to be converted into reals when they wished. Dakar
  and TW then instructed Treviso to convert the funds at various times.

  As the Court can see, Treviso had no dealings and no communications with anyone in the United
  States, including Berkowitz, in connection with the transactions at issue. Treviso did nothing to
  reach in to New Jersey or the United States to target Berkowitz or anyone else. Rather,
  Berkowitz, on instructions from Dakar or TW, reached out to Brazil to transfer the funds, and
  Treviso happened to be the correspondent of the currency exchange firm Dakar and TW had
  chosen. Thus there is no way Berkowitz could show purposeful availment, as it must do to
  establish personal jurisdiction. See D’Jamoos v. Pilatus Aircraft Ltd., 566 F.3d 94, 103-04 (3d
  Cir. 2009) (“the critical finding that the defendant purposefully availed itself of the privilege of
  conducting activities within the forum requires contacts that amount to a deliberate reaching into
  the forum state to target its citizens”). Nor, on the facts, could Berkowitz establish the other key
  jurisdictional fact, as there was no contact, let alone minimum contacts, between Treviso and the
  US. Treviso received a wire transfer, but “receiving a wire transfer, even if the wire transfer
  came from [the forum], is not sufficient to establish minimum contacts without more.” United
  My Funds, LLC v. Perera, 2020 U.S. Dist. LEXIS 23060, at *11 (E.D. Tex. Feb. 11, 2020). I
  note that while some courts have given special treatment to claims asserting that foreign co-
  conspirators are subject to personal jurisdiction by attributing acts of co-conspirators to each
  other, the Third Circuit has predicted that New Jersey would reject such special treatment, see
  Lasala v. Marfin Popular Bank Pub. Co., 410 Fed. App’x 474, 478 (3d Cir. 2011) (non-
  precedential), and this Court has held that a co-conspirator cannot be subject to jurisdiction

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  unless it had contact with New Jersey. See Estate of Stevens v. N. Am. Co. for Life, 2024 U.S.
  Dist. LEXIS 176926, at *24-25 (D.N.J. Sept. 30, 2024). See also Waste Mgmt., Inc. v. Admiral
  Ins. Co., 649 A.2d 379, 389 (N.J. 1994) (“jurisdiction over one defendant may not be based on
  the activities of another defendant, nor on the plaintiff's connection to the forum state”).

  Failure to state a claim. To state a claim, a complaint must allege “sufficient factual matter,
  accepted as true, to state a claim that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,
  678 (2009) (citation omitted). The Court must accept well-pleaded allegations as true but must
  not credit “legal conclusion couched as a factual allegation.” Id. at 677-78. Under New Jersey
  law, the elements of aiding and abetting a fraud are “(1) the commission of a wrongful act [the
  underlying fraud]; (2) knowledge of the act by the alleged aider-abettor; and (3) the aider-abettor
  knowingly and substantially participated in the wrongdoing.” Morganroth & Morganroth v.
  Norris, McLaughlin & Marcus, PC, 331 F.3d 406, 415 (3d Cir. 2003). Treviso concedes that the
  complaint adequately alleges the underlying fraud by Possebon and others. But the allegations
  that Treviso knew of it or substantially participated in it are purely conclusory—they are just the
  kind of allegations that, under Iqbal, the Court should disregard. Nor does anything in the
  complaint give the Court any basis to infer that Treviso knew of the scheme. The complaint does
  not allege anything about the role Treviso played in the transaction and thus cannot explain how
  it is plausible that a financial institution performing a currency exchange would or should have
  known of the scheme. The Court has dismissed aiding and abetting fraud claims in other cases
  with similarly vague allegations. See, e.g., August Uribe Fine Art, LLC v. SRL, 2023 U.S. Dist.
  LEXIS 51422 (D.N.J. Mar. 27, 2023). In addition, the complaint is a textbook example of “group
  pleading,” which “courts in this district consistently hold … [do] not satisfy the plausibility
  requirements of Rule 8.” McLeod v. Fifth Jud. Dist. Of Pa., 2022 U.S. Dist. LEXIS 193448, at
  *4-5 (D.N.J. Oct. 21, 2022). The complaint “indiscriminately attribute[s] wrongdoing to a group
  of defendants, leaving them to guess as to who allegedly did what.” Jing Kong v. Johnson &
  Johnson, 2024 U.S. Dist. LEXIS 69265, at *11 (D.N.J. Apr. 15, 2024).

  Failure to plead fraud with particularity. The requirement to plead fraud with particularity, Fed.
  R. Civ. P. 9(b), applies to claims of aiding and abetting fraud. See Zemel Korchmar, 2020 U.S.
  Dist. LEXIS 203538, at *5 (D.N.J. Oct. 30, 2020). See also ABF Capital Mgmt. v. Askin Capital
  Mgmt., 957 F. Supp. 1308, 1328 (S.D.N.Y. 1997). To meet the rule, the complaint must plead or
  allege the “date, place or time” of the fraud or in any event enough facts to give the allegation of
  fraud “precision and some measure of substantiation.” Lum v. Bank of Am., 361 F.3d 217, 224
  (3d Cir. 2004) (citation omitted). The allegations recited above are insufficient to meet this
  standard and are even more general than the allegations in Lum, which the Third Circuit found
  insufficient.

                                                        Respectfully submitted,



                                                        Theodore J. Folkman
  cc:      All Counsel of Record (via ECF)



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